United States District Court



Plaintiff / Petitioner:                                                                           AFFIRMATION OF SERVICE
Matthew Larosiere                                                                                             Index No:
Defendant / Respondent:                                                                                6:24-CV-01628:WWB-LHP

Cody Rutledge Wilson, Defcad Inc, Defense Distributed, Dioskouroi
LLC



The undersigned hereby affirms: I am not a party herein, I am over 18 years of age , I reside in the State of New York. That on 11/28/2024 at 12:36
PM at 5526 Niagara St Ext , Lockport, NY 14095 I served the within Large Civil Rico Complaint And Summons on Peter Salvatore Centano



        Individual: by delivering a true copy of each to said defendant, personally; I knew the person so served to be the person described as said
        defendant therein.
        Corporation: ‌                         a Defendant, therein named, by delivering a true copy of each to ‌                         personally, I
        knew said corporation so served to be the corporation described, and knew said individual to be the ‌                         thereof.
 X      Suitable Person: by delivering thereat, a true copy of each to Deputy Sheriff Shawver a person of suitable age and discretion.
        Affixing to Door: by affixing a true copy of each to the door thereof, I was unable with due diligence to find defendant, or a person of
        suitable age or discretion thereat, having called thereon; at
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        Mailing: I also enclosed a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at Peter Salvatore Centano 's
        last known residence, 5526 Niagara St Ext , Lockport, NY 14095, and depositing said wrapper in a post office, official depository under the
        exclusive care and custody of the United States Post Office, department, with New York State. Mailed on ‌                        .
 X      Military Service: I asked the person spoken to whether Defendant was in active military service of the United States or of the State of New
        York in any capacity whatever and received a negative reply. The source of my information and the grounds of my belief are the
        conversations and observations above narrated. Upon information and belief I aver that the Defendant is not in the military service of New
        York State or of the United States as that term is defined in either the State or in the Federal statutes.

Description:
Age: 50-60                                Ethnicity:    Light                        Gender:    Male                          Weight:    160
Height:   6ft                           Hair:   Black                                          Eyes:                  Relationship:   Deputy Sheriff
Other




Anthony Crowley                                                                I affirm this 12/28/2024, under the penalties of perjury under the laws
                                                                               of New York, which may include a fine or imprisonment, that the
WNY Security & Process Service Pros                                            foregoing is true, and I understand that this document may be filed in
525 Wheatfield Street, Suite 40                                                an action or proceeding in a court of law.
North Tonawanda NY 14120
